By the verdict of the jury the defendant was convicted under the first court of the indictment, which charged that he did distill, make, or manufacture alcoholic or spirituous liquor, etc.
This appeal is upon the record proper; there being no bill of exceptions. The questions presented by the plea in abatement, to which demurrers were sustained, and by demurrers to the indictment, have been decided adversely to the contention of the defendant in the following cases: Powell v. State (Ala.App.) 90 So. 138;1 Jones v. State (Ala.App.) 90 So. 135;2
Ewing v. State (Ala.App.) 90 So. 136;3 Ricketts v. State (Ala.App.) 90 So. 137;4 Layman v. State (Ala.App.)93 So. 66;5 Johnson v. State, 18 Ala. App. 503, 93 So. 375.
Under authority of these cases the judgment appealed from is affirmed.
Affirmed.
1 18 Ala. App. 101.
2 18 Ala. App. 116.
3 18 Ala. App. 166.
4 18 Ala. App. 162.
5 18 Ala. App. 441.